






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00248-CV







Sharon Blindert and Doug Blindert, Appellants


v.


William M. Taylor, M.D. and Austin Center for Outpatient Surgery, Appellees







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 98TH JUDICIAL DISTRICT

NO. GN200693, HONORABLE MARGARET A. COOPER, JUDGE PRESIDING






	

M E M O R A N D U M   O P I N I O N



	Because appellants Sharon Blindert and Doug Blindert have failed to file an
appellants' brief, we will dismiss this appeal for want of prosecution.  See Tex. R. App. P.
38.8(a)(1), 42.3(b). 

	The Clerk of this Court filed the clerk's record in this cause on May 8, 2003.  Thus,
appellants' brief was due June 9, 2003.  See id. 38.6(a)(1).  By postcard dated October 13, 2003, the
Clerk of this Court notified the parties that the appeal was subject to dismissal for want of
prosecution unless appellants tendered a motion by October 24 reasonably explaining the failure to
file a brief.  See id. 38.8(a)(1).  Appellants have submitted neither a brief nor a motion reasonably
explaining the failure to file a brief.

	Accordingly, we dismiss the appeal for want of prosecution on our own motion.  See
id. 42.3(b).


					__________________________________________

					Jan P. Patterson, Justice

Before Chief Justice Law, Justices B. A. Smith and Patterson

Dismissed for Want of Prosecution

Filed:   December 4, 2003


